

People v Davey (2018 NY Slip Op 04936)





People v Davey


2018 NY Slip Op 04936


Decided on June 29, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 29, 2018

PRESENT: WHALEN, P.J., CENTRA, CARNI, DEJOSEPH, AND WINSLOW, JJ. (Filed June 29, 2018.) 


MOTION NO. (1368/15) KA 14-01975.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vDAVID M. DAVEY, DEFENDANT-APPELLANT. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








